            Case 2:06-cr-00026-RSL            Document 126       Filed 04/17/06   Page 1 of 4



 1                                                                       Chief Judge Lasnik
 2

 3

 4

 5

 6
                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 8
     UNITED STATES OF AMERICA,                       )
 9                                                   )        NO. CR06-0026RSL
                             Plaintiff,              )
10                                                   )
                     v.                              )        ORDER CONTINUING TRIAL
11                                                   )
     TEWOLDEBERHAN MEKONNEN,                         )
12        a/k/a “Jamal,”                             )
          a/k/a “Jama,”                              )
13        a/k/a “Jamo,”                              )
     DANIEL M. YOHANNES,                             )
14        a/k/a “T.J,.”                              )
     ROBEL MEKONEN,                                  )
15        a/k/a “Zey,”                               )
          a/k/a “Tommy,”                             )
16        a/k/a “Magic,”                             )
     LIBAN F. ALI,                                   )
17        a/k/a “Lee,”                               )
     ROBEL SISAY GEBREHEMEDHIU,                      )
18        a/k/a “Rob,”                               )
          a/k/a “El,”                                )
19        a/k/a “Robel Gebremedhin,”                 )
                                                     )
20                           Defendants.             )
                                                          )
21
             The Court has considered the joint motion filed by the Government and
22
     TEWOLDEBERHAN MEKONNEN, DANIEL M. YOHANNES, ROBEL MEKONEN,
23
     and LIBAN F. ALI, pursuant to 18 U.S.C. § 3161(h)(8)(A) concerning a continuance of
24
     the trial in this case:
25
             THE COURT FINDS that this is a complex case involving extensive discovery
26
     and allegations of a multi-defendant conspiracy that spanned approximately two years;
27
             THE COURT FURTHER FINDS that continuing the trial in this case is
28
     necessary to allow defense counsel adequate time to investigate both the case and
                                                                                     UNITED STATES ATTORNEY
                                                                                    700 S
                                                                                        TEWART S TREET, S 5220
                                                                                                         UITE

                                                                                      S
                                                                                      EATTLE,W   ASHINGTON98101
     ORDER CONTINUING TRIAL/MEKONNEN (CR06-0026RSL) - 1                                    (206) 553-7970
            Case 2:06-cr-00026-RSL            Document 126     Filed 04/17/06      Page 2 of 4



 1   effectively to prepare for trial;
 2          THE COURT FURTHER FINDS, pursuant to 18 U.S.C. § 3161(h)(8)(A), that
 3   the ends of justice served by continuing the trial in this case outweigh the interest of the
 4   public and of the defendant in a more speedy trial;
 5          THE COURT FURTHER FINDS that, even if ROBEL GEBREHEMEDHIU is
 6   unwilling to waive his right to a speedy trial, a continuance of his trial is appropriate
 7   pursuant to 18 U.S.C. § 3161(h)(7);
 8          IT IS THEREFORE ORDERED that the trial in this case shall be continued until
 9   September 25, 2006, and that the period of time from April 17, 2006, up to and
10   including September 25, 2006, shall be excludable time under 18 U.S.C.
11   § 3161(h)(8)(A); and
12          IT IS FURTHER ORDERED that the deadline for filing pretrial motions in this
13   case shall be June 16, 2006, and that responses to motions shall be due June 30, 2006.
14          DONE this 17 day of April, 2006.
                              th




15

16                                                        A
                                                          Robert S. Lasnik
17
                                                          United States District Judge
18

19

20

21

22
     Presented by:
23

24   JOHN McKAY
     United States Attorney
25

26
     s/Todd Greenberg
27   TODD GREENBERG
     Assistant United States Attorney
28


                                                                                          UNITED STATES ATTORNEY
                                                                                         700 S
                                                                                             TEWART S TREET, S 5220
                                                                                                              UITE

                                                                                           S
                                                                                           EATTLE,W   ASHINGTON98101
     ORDER CONTINUING TRIAL/MEKONNEN (CR06-0026RSL) - 2                                         (206) 553-7970
            Case 2:06-cr-00026-RSL            Document 126   Filed 04/17/06   Page 3 of 4



 1
     s/Andrew C. Friedman
 2
     ANDREW C. FRIEDMAN

 3   Assistant United States Attorney


 4   United States Attorney’s Office
     700 Stewart Street, Suite 5220
 5
     Seattle, Washington 98101-3903
 6   Telephone: (206) 553-2277
     Fax:          (206) 553-0755
 7   E-mail:       Todd.Greenberg@usdoj.gov
 8
                   Andrew.Friedman@usdoj.gov

 9

10

11
     s/Jennifer E. Horwitz
12   JENNIFER E. HORWITZ
     Counsel for Tewoldeberhan Mekonnen
13

14
     Horwitz & Stamm
     119 First Avenue South, Suite 500
15   Seattle, Washington 98104
     Telephone: (206) 264-8586
16   E-mail:      jennifer@fighttowin.com
17

18
     s/Bruce D. Erickson
19
     BRUCE D. ERICKSON
20   Counsel for Daniel M. Yohannes

21   411 University Street, Suite 1200
     Seattle, Washington 98101
22
     Telephone: (206) 624-1200
23   Fax:         (206) 340-5988
     E-mail:      brucederickson@hotmail.com
24

25

26   s/Michael M. Danko
     MICHAEL M. DANKO
27   Counsel for Robel Mekonnen
28
     600 First Avenue, Suite 205

                                                                                 UNITED STATES ATTORNEY
                                                                                700 S
                                                                                    TEWART S TREET, S 5220
                                                                                                     UITE

                                                                                  S
                                                                                  EATTLE,W   ASHINGTON98101
     ORDER CONTINUING TRIAL/MEKONNEN (CR06-0026RSL) - 3                                (206) 553-7970
            Case 2:06-cr-00026-RSL            Document 126   Filed 04/17/06   Page 4 of 4



 1   Pioneer Building
     Seattle, Washington 98104
 2
     Telephone: (206) 623-4644
 3   Fax:         (206) 623-6340
     E-mail:      michaeldanko@earthlink.net
 4

 5

 6   s/Gilbert H. Levy
     GILBERT H. LEVY
 7   Counsel for Liban F. Ali
 8
     2001 Western Avenue, Suite 200
 9   Seattle, Washington 98121-2114
     Telephone: (206) 443-0670
10   Fax:         (206) 448-2252
11
     E-mail:      courts@glevylawyer.com

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                                                                 UNITED STATES ATTORNEY
                                                                                700 S
                                                                                    TEWART S TREET, S 5220
                                                                                                     UITE

                                                                                  S
                                                                                  EATTLE,W   ASHINGTON98101
     ORDER CONTINUING TRIAL/MEKONNEN (CR06-0026RSL) - 4                                (206) 553-7970
